                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

       v.                                                 Case No. 04-MISC-54

HELEN L. CEASER
(AKA: HELEN L. ROSE),

                  Defendant.
______________________________________________________________________________

                    ORDER APPROVING JUDGMENT LIEN RENEWAL


       Based on the United States of America’s Motion and Memorandum in Support, and good

cause appearing therefore,

       THE COURT HEREBY APPROVES the renewal of the United States of America’s

judgment lien against Helen L. Ceaser (aka: Helen L. Rose) in accordance with the provisions of

the Federal Debt Collection Procedure Act, 28 U.S.C. § 3201.


       SO ORDERED this 1st day of July, 2024.



                                           /s/ Lynn Adelman
                                           LYNN ADELMAN
                                           U.S. DISTRICT COURT JUDGE




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